Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page1of51

 

Fill in this information to identify your case: pues py! £ A Pp A Ly
i tal Nae

United States Bankruptcy Count for the:

MIDDLE DISTRICT OF FLORIDA SFP 16 2071

 

Case number (if known) Chapter you are filing under.

 

Clerk. U.S. Bankruptey «suit
| Chapter 7 Middle District of Fiona
Tampa Division

O1 Chapter 11

DO Chapter 12

DO Chapter 13 O Check if this is an
amended filing

 

 

 

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 04/20

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 7 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying corract information. If
more space is needed, attach a separate sheet to this form. Cn the top of any additional pages, write your name and case number (if known). Answer
every question.

Identify Yourself

About Debtor 1: About Dabtor 2 (Spouse Only Ina Joint Case):
1. Your full name

Write the name that is on Megan

your government-issued = First name First name
picture identification (for
example, your driver's Sloan

license or passport). Middie name Middle name

 

 

 

 

Bring your picture Hill
identification to your
meeting with the trustee. Last name and Suffix (Sr., Jr., tI, Il!) Last name and Suffix (Sr., Jr., 1, II)

 

 

 

Zz. Ailother names you have
used in the last 8 years

Include your married or
maiden names.

 

3. Only the last 4 digits of
your Social Security
number or federal
XXX-XX-4150
individuai Taxpayer
Identification number
CITIN}

 

Official Form 101 Voluntary Petition for Individuats Filing for Bankruptcy page 1
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Debtor1 Megan Sloan Hill

 

4. Any business names and
Employer identification
Numbers {EIN} you have
used In the last 8 years

Include tradé names and
doing business as names

About Debdtor 1:

| have not used any business name or EINs.

Case number (if known)

About Debtor 2 (Spouse Gnly in a Joint Case}:

(1 | have not used any business name or EINs.

 

Business name(s)

 

Business name(s)

 

EIN

 

EIN

 

5. Where you live

4155 Tanner Road
Haines City, FL 33844
Number, Street, City, State & ZIP Code

Polk
County

If your mailing address is different from the one
above, fill it in here. Note that the court will send any
notices to you at this mailing address.

If Debtor 2 lives at a different address:

 

Number, Street, City, State & ZIP Code

 

County

If Debtor 2's mailing address is different from yours, fill it
in here. Note that the court will send any notices to this
mailing address.

 

Number, P.O. Box, Street, City, State & ZIP Code

 

Number, P.O. Box, Street, City, State & ZIP Code

 

 

 

 

6. Why you are choosing Check one: Check one:
this district to file for
bankruptcy HM Over the last 180 days before filing this petition, (Over the last 180 days before filing this petition, |
| have lived in this district longer than in any have lived in this district longer than in any other
other district. district.
Bb | have another reason. Ol ! have another reason.
Explain. (See 28 U.S.C. § 1408.) Explain. (See 28 U.S.C. § 1408.)
Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy

page 2
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 3of51

Debtor1 Megan Sloan Hill

Case number (i known)

fee Tou the Court About Your Bankruptcy Case

 

 

 

 

 

 

 

 

 

 

 

 

7. The chapter of the Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342/b) for individuals Filing for Bankruptcy
Bankruptcy Code you are (Form 2070)). Also, go to the tap of page 1 and check the appropriate box.
choosing to file under

BB Chapter 7

O Chapter 11

O Chapter 12

O) Chapter 13

&. How you will pay the fee | will pay the entire fee when | fila my petition. Please check with the clerk’s office in your local court for more details
about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
order. !f your attorney is submitting your payment on your behalf, your attomey may pay with a credit card or check with
a pre-printed address.

O)_si| need to pay the fee in instaliments. If you choose this option, sign and attach the Application for individuals to Pay
The Filing Fee in installments (Official Form 103A).

C1 [request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
but ig not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
applies to your family size and you are unable to pay the fee in installments). if you choose this option, you must fill out
the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.

9. Have you filed for No

bankruptcy within the ,

last 8 years? 0 Yes,
District When Case number
District When Case number
District When Case number

10. Are any bankruptcy HNo

cases pending or being

filed by aspouse whois (1 Yes.

not filing this case with

you, or by a business

partner, or by an

affiliate?
Debtor Relationship te you
District When Case number, if known
Debtor Relationship to you
District When Case number, if known

11. Do you rent your CG No. Go to tine 12.
residence? . ae .
@ ves, Has your landlord obtained an eviction judgment against you?
H No. Go to line 12.
Oo Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
bankruptcy petition.
Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 3
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Debtor 1 Megan Sloan Hill Case number (if known)

 

Report About Any Businesses You Own as a Sote Proprietor

 

42. Are you a sole proprietor
of any full- or part-time = MNo. Go to Part 4.
business?

O Yes. Name and location of business
A sole proprietorship is a
business you operate as Name of business, if any
an individual, and is not a
separate legal entily such
as a corporation,
partnership, or LLC.

if you have more than one
sole proprietorship, use a

separate sheet and attach
it to this petition. Check the appropriate box to describe your business:

Health Care Business (as defined in 11 U.S.C. § 101(27A))
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))

None of the above

 

 

Number, Street, City, State & ZIP Code

ooaaca

 

13. Are you filing under if you are filing under Chapter 711, the court must know whether you are a smail business debtor or a debtor choosing to
Chapter 11 of the proceed under Subchapter V so that it can set appropriate deadiines. If you indicate that you are a small business debtor or
Bankruptcy Code, and you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
are you a smail business cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
debtor or a debtor as § 1116(1}(B).
defined by 11 U.S.C. §

9182(1)7
BNo ! am not filing under Chapter 11.
For a definition of sma! ‘
business debtor, see 11 DNs. Iam filing under Chapter 11, but | am NOT a small business debtor according to the definition in the Bankruptcy
U.S.C. § 101(51D). Code
OD ves. lam filing under Chapter 11, | am a small business debtor according to the definition in the Bankruptcy Code, and

I do not choose to proceed under Subchapter V of Chapter 11.

O ves. 1am filing under Chapter 11, | am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and |
choose to proceed under Subchapter V of Chapter 11.

Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Doyouownorhaveany MM yo.
property that poses or is
alleged to pose athreat (1 Yes.
of imminent and What is the hazard?

 

identiflable hazard to
public health or safety?
Or do you own any

property that needs if immediate attention is
immediate attention? needed, why is it needed?

 

For example, do you own

penshable goods, or

livestock that must be fed, Where is the property?
or a building that needs

urgent repairs?

 

Number, Street, City, State & Zip Code

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor1 Megan Sloan Hill

Explain Your Efforts to Receive a Briefing About Credit Counseling

Case number (if known)

 

15. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a driefing about
credit counseling before
you file for bankruptcy.
You must truthfully check
one of the following
choices. If you cannot do
so, you ave not eligible ta
file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your
creditors can begin
collection activities again.

About Debtor 4:
You must check one:

l received a briefing from an approved credit Oo
counseling agency within the 180 days before |

filed this bankruptcy petition, and | received a

certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

I received a briefing from an approved credit oO
counseling agency within the 180 days before |

filed this bankruptcy petition, but | do not have

a certificate of completion.

Within 14 days after you file this bankruptcy
petition, you MUST file a copy of the certificate and
payment plan, if any.

| certify that | asked for credit counseling oO
services from an approved agency, but was

unable to obtain those services during the 7

days after | made my request, and exigent
circumstances merit a 30-day temporary waiver

of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
siill receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted

only for cause and is limited to a maximum of 15

days.

lam not required to receive a briefing about oO
credit counseling because of:

~~ sIncapacity.
| have a mental illness or a mental deficiency
that makes me incapabie of realizing or
making rational decisions about finances.

0 sO isability.
My physical disability causes me to be
unable to participate in a briefing in person,
by phone, or through the internet, even after |
reasonably tried to do so.

DO sActive duty.
! am currently on active military duty in a
Mmititary combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver credit counseling with the court.

About Debtor 2 (Spouse Only In a Joint Case):
You must check one:

| received a briefing from an approved credit
counseling agency within the 180 days before i filed
this bankruptcy petition, and | received a certificate of
completion.

Attach a copy of the certificate and the payment plan, if
any, that you developed with the agency.

I received a briefing from an approved credit
counseling agency within the 180 days before I filed
this bankruptcy petition, but | de not have a certificate
of completion.

Within 14 days after you file this bankruptcy petition, you
MUST file a copy of the certificate and payment plan, if
any.

| certify that | asked for credit counseling services
from an approved agency, but was unable to obtain
those services during the 7 days after | made my
request, and exigent circumstances merit a 30-day
temporary waiver of the requirement.

To ask for a 30-day temporary waiver of the requirement,
attach a separate sheet explaining what efforts you made
to obtain the briefing, why you were unable to obtain it
before you filed for bankruptcy, and what exigent
circumstances required you to file this case.

Your case may be dismissed if the court is dissatisfied
with your reasons for not receiving a briefing before you
filed for bankruptcy.

if the court is satisfied with your reasons, you must still
receive a briefing within 30 days after you file. You must
file a certificate from the approved agency, along with a
copy of the payment plan you developed, if any. If you do
not do 80, your case may be dismissed.

Any extension of the 30-day deadline is granted only for
cause and is limited to a maximum of 15 days.

lam hot required to receive a briefing about credit
counseling because of:

0 sIncapacity.
| have a mental illness or a mental deficiency that
makes me incapable of realizing or making rational
decisions about finances.

O_sODisability.
My physical disability causes me to be unable to
participate in a briefing in person, by phone, or
through the intemet, even after | reasonably tried to
do 50.

OL Active duty.
| am currently on active military duty in a military
combat zone.

If you believe you are not required to receive a briefing
about credit counseling, you must file 4 motion for waiver
of credit counseling with the court.

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy

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Debtor 1 Megan Sloan Hill

Case number (if known)

[Pate: EUEREY These Questions for Reporting Purposes

16. What kind of debts do 16a.
you have?

16b.

16c.

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
individuat primarily for a personal, family, or household purpose.”

C3 No. Go to line 16b.

@ Yes. Go to line 17.

Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

C] No. Go to line 16c.

O1 Yes. Go to line 17.
State the type of debts you owe that are not consumer debts or business debts

 

 

17. Are you filing under D No.

Chapter 7?

De you estimate that ves.

after any exempt
property is excluded and

| am nat filing under Chapter 7. Go fo line 18.

| am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
are paid that funds wilt be available to distribute to unsecured creditors?

 

 

administrative expenses MNo
are paid that funds will
be available for 0 Yes
distribution to unsecured
creditors?
18. How many Creditorsdo 149 DZ 1,000-5,000 C1 25,001-50,000
you estimate thatyou ==) 59.99 C1 5001-10,000 C1 50,001-100,000
CO 100-199 CF 10,001-25,000 OO More than100,000
D 200-999
19. How much do you @ $0 - $50,000 D $1,000,001 - $10 million C $500,000,001 - $1 billion
poder tel assets to 17 $50,001 - $100,000 ©) $10,000,001 - $50 million C1 $1,000,000,001 - $10 billion

D $100,001 - $500,000
0 $500,001 - $1 million

QO $50,000,001 - $100 million
0 $190,000,001 - $500 million

C3 $10,000,000,001 - $50 bilion
0 More than $50 billion

 

20. How much do you

$0 - $50,000
timate '
tobe your liabilities C1 $50,001 - $100,000

OF $100,001 - $500,000
D0 $500,001 - $1 million

0 $1,000,001 - $10 million

0 $10,000,001 - $50 million
C1 $50,000,004 - $100 million
DO $100,000,004 - $500 million

(2 $500,000,001 - $1 billion

O $1,000,000,001 - $10 billion
© $10,000,000,001 - $50 billion
C] More than $50 billion

 

part 7: EM Below

For you | have examined this petition, and | declare under penalty of perjury that the information provided is true and correct.

If | have chosen to file under Chapter 7, 1 am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
United States Code. | understand the relief available under each chapter, and | choose to proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attomey to help me fill out this

document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

l request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand
bankrupt

  
   

king a faise statement, concealing property, or obtaining money or property by fraud in connection with a

  

Executed on

 

can ete, to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
AL
A - Signature of Debtor 2

{ Executed on
MM /DD/YYYY

 

MM / DUS Y

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy page 6
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 7 of 51

Debtor 1 Megan Sloan Hill Case number (if known)

 

For your attomey, if you are I, the attorney for the debtor(s) named in this petition, declare that | have informed the debtor(s} about eligibility to proceed
represented by ono under Chapter 7, 11, 12, or 13 of title 14, United States Code, and have explained the relief available under each chapter

for which the person is eligible. | also certify that | have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by = and, in a case in which § 707(b)(4}(D) applies, certify that | have no knowledge after an inquiry that the information in the
an attorney, youdonotneed schedules filed with the petition is incorrect.

 

 

 

 

 

to file this page.
Date
Signature of Attorney for Debtor MM /DD/YYYY
Printed name
Firm name
Number, Streat, City, State & ZIP Code
Contact phone Email address

 

 

 

Bar number & State

 

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Megan Sloan Hill Case number (it known)

 

For you if you are filing this The law allows you, as an individual, to represent yourseif in bankruptcy court, but you should understand that many
bankruptcy without an people find it extremely difficult to represent themselves successfully. Because bankruptcy has long-term
attorney financial and legal consequences, you are strongly urged to hire a qualified attorney.

If you are represented by an = To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical, and a mistake or

attorney, you do not need to — inaction may affect your rights. For example, your case may be dismissed because you did not file a required document,

file this page. pay 4 fee on time, attend a meeting or hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy
administrator, or audit firm if your case is selected for audit. If that happens, you could tose your right to file another case,
or you may jose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even if you plan to pay
a particular debt outside of your bankruptcy, you must list that debt in your schedules. If you do not list a debt, the debt may
not be discharged. Hf you do not list property or properly claim it as exempt, you may not be able to keep the property. The
judge can also deny you a discharge of ail your debts if you do something dishonest in your bankruptcy case, such as
destroying or hiding property, falsifying records, or tying. Individual bankruptcy cases are randomly audited to determine if
debtors have been accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an attorney. The court
will not treat you differently because you are filing for yourself. To be successful, you must be familiar with the United
States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure, and the local rules of the court in which your case is
filed. You must also be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal consequences?
OC No
Byes

Are you aware that bankruptcy fraud is a seriaus crime and that if your bankruptcy forms are inaccurate or incomplete, you
could be fined or imprisoned?

CI No

Yes

Did you pay or agree to pay someone who is not an attomey to help you fill out your bankruptcy forms?
QO No

Byes Name of Person Katherine M. Workman

 

Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that | understand the risks involved in filing without an attomey. | have read and understood
this notice, and | am aware that filing a bankruptcy case without an attorney may cause me to lose my rights or property if 1 do

 

Signature of Debtor 2

 

 

 

 

 

 

Date
MM /DDsY MM/DD/YYYY
Contact phone (689) 333-4763 Contact phone
Cell phone Cell phone
Email address _megdaofbartow@gmail.com Email address

 

 

 

Official Form 104 Voluntary Petition for Individuats Filing for Bankruptcy page 8
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Fillin this information to identify your case:

Debtor 1 Megan Sloan Hill

First Name Middie Name Last Name

 

Debtor 2
(Spouse if, filing} First Name Middle Name Last Name

 

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 

Case number
{if known) Check if this is an
amended filing

 

 

 

Official Form 106Sum

Summary of Your Assets and Liabitities and Certain Statistical Information 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 

GERRI Summarize Your Assets

 

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy fine 55, Total real estate, from Schedule AVB......ccccccccccccsccecsssssssssscscssssssssssesseesssssetestansaceeerstitiinnavaneseeeee $ 0.00
1b. Copy line 62, Total personal property, from Schedule A/B.o... cece e eee ceee cece ete tees scerenenineeaeiees $ 9,280.00

1c, Copy line 63, Total of all property on Schedule AMB..0...o cece cesceteneteeeeeeecasaeeceaseeceriseneeseseteeeneseeeees $

$,280.00

Summarize Your Liabilities

 

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.. 8 7,459.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106€/F)

3a. Copy the total clairns from Part 1 (priority unsecured claims) from line 6e of Schedule E/F $ 0.00

3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6] of Schedule EVF........... 0 $ 17,727.52

Your total liabilities | > 25,186.52
Gx Summarize Your Income and Expenses

4. Schedule |: Your income (Official Form 106)}

Copy your combined monthly income from line 12 Of SchEGUIE foie es ccceccsccttsnccecescesesttesecsetecstecseeseesesenttaes $ 5,060.51
5. Schedule J: Your Expenses (Official Farm 106}

Copy your monthly expenses from line 22c of Schedule Jon... ceca ccccetetesesccccteernntsnsesstttrratasensates $ 5,015.00

GGEIEMME Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137
No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

@ yes
7. What kind of debt do you have?

@ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Ol Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
the court with your other schedules.
Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Intormation page 1 of 2

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Debtor 1 Megan Sloan Hill Case number (if known)

 

8 From the Statement of Your Current Monthly income: Copy your ictal current monthly income from Official Form

 

 

 

 

122A-1 Line 11; OR, Form 122B Line 11: OR, Form 122C-1 Line 14. 4,223.66
9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

oe ee Rocce eee ii ce gegpig os. Total claim"

Fram Partd on Schedule E/F, copy the following: ©

9a. Domestic support obligations (Copy line 6a.) $ 0.00

9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0.00

9c, Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $ 0.00

Od. Student loans. (Copy line 6f.)} $ 1,108.00

9e, Obligations arising out of a separation agreement or divorce that you did not report as 0.00

priority claims. (Copy line 6g.) OO

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) +$ 0.06

9g. Total. Add lines 9a through SF. 3 1,108.00
Official Farm 106Sum Summary of Your Assets and Liabilities and Certain Statistical Infarmation page 2 of 2

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Best Case Bankrupicy
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page11o0f51

Fillin this information to identify your case and this fiting:

Debtor 1 _Megan Sloan Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse, if fling} First Name Middie Name Last Name

 

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 

Case number Os Check if this is an
amended filing

 

 

Official Form 106A/B
Schedule A/B: Property _ 42115

 

 

in each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are aqualiy responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answor overy question.

cums Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 

1. De you own or have any legal or equitable interest in any residence, building, land, or simiiar property?

BE ho. Goto Part2.
D Yes. Where is the property?

Describe Your Vehicles

De you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, frucks, tractors, sport utility vehicles, motorcycles

 

 

D No
ves
. j i Do not deduct secured claims or exemptions. Put
3.1 Make: Chevro et Who has an interest in the property? Check one the amount of any secured claims on § 'e D:
Medel Malibu WB pebtor 4 only Creditors Who Have Claims Secured by Property.
Year 20150 LI Debtor 2 only Current value of the Current vaiue of the
Approximate mileage: 146000 D pebtor 1 and Debtor 2 only entire property? portion you own?
Other information: Cd At teast one of the debtors and another
(Debtor intends to keep
collateral and continue to pay 1D check if this is community property $6,635.00 $6,635.00
| the regular monthly payment) {see instructians)

 

 

 

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Exampies: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

BNo
C) Yes

 

5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
pages you have attached for Part 2. Write that number hore............ scene setae > $6,635.00

 

 

 

Describe Your Personal and Household Items

Do you own or have any legai or equitabie interest in any of the following items? Current value of the
portion you own?
Do net deduct secured
claims or exemptions.

 

Official Form 106A/B Schedule A/B: Property page 1
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Debtor? Megan Sloan Hill Case number {if known)

 

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

C No
Hyves. Describe.....

 

2 couches, coffee table, 3 lamps, desk, chair, vacuum cleaner,
table with 4 chairs, microwave, 3 beds, 3 dressers, and 4 night
stands $1,420.00

 

 

 

 

7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
including cell phones, cameras, media players, games

D1 No
Yes. Describe...

 

| DVD player, laptop, iPhone 8 $630.00

 

 

§. Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or basebail card collections;
other collections, memorabilia, collectibles

Bno
DO Yes. Describe...

9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks, carpentry tools;
musical instruments

B No
Dyes. Describe...

10. Firearms
Exampies: Pistols, rifles, shotguns, ammunition, and related equipment

B No
D Yes. Describe.....

11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

One
@ Yes. Describe.....

 

 

[General used clothing $200.00

 

12. Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
ONo

Ml Yes. Describe.....

 

Engagement ring | $200.00

 

13. Non-farm animals
Examples: Dogs, cats, birds, horses

Ons
M@ Yes. Describe.....

 

|2 dogs | $0.00

 

14. Any other personal and household items you did not already fist, including any health aids you did not list
BNo
D Yes. Give specific information...

Official Form 1064/8 Schedule AJB: Property page 2
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Debtor? Megan Sloan Hill Case number (if known)

15. Add the dollar value of all of your entries from Part 3, including anye entries for pages you have attached
for Part 3. Write that number here . $2,450.00

Describe Your Financial Assets.

Do you own or have any legal or equitable interest in any of the following? Current value of the
portion you own?
De not deduct secured
claims or exemptions.

 

16. Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

BNo
DD Ves. cece ccceccecccessescseeneecenseevsesceseassusissnesioceasausuasstiassesesetitssestiisesssmeetstteteness

17. Deposits of money
Exampies: Checking, savings, or other financial accounts, certificates of deposit; shares in credit unions, brokerage houses, and other similar
institutions. If you have muitiple accounts with the same institution, list each.

 

 

CNo

aw VOS.ceccccneeeeees institution name:
17.1. Checking account Mid Florida Credit Union $195.00
17.2. Savings account Mid Fiorida Credit Union $0.00

 

 

18 Bonds, mutual funds, or publicty traded stocks
Examples. Bond funds, investment accounts with brokerage firms, money market accounts

BNo

0 Yes Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
joint venture

BNo

0 Yes. Give specific information about them..................
Name of entity: % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiabie instruments are those you cannot transfer to someone by signing or delivering them.

MNo

D Yes. Give specific information about them
Issuer name:

21. Retirement or pension accounts
Exampies: Inlerests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

Hino

CQ Yes. List each account separately.
Type of account: Institution name:

22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others

Mino

DD YES. ooocccceneeseccee Institution name or individual:

23. Annuities (A contract far a pericdic payment of money ta you, either for fife ar far a number of years}

HNno
0 Yes........... Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under 2 qualified state tuition program.
26 U.S.C. §§ §30(b)(1}), 529A(b), and 529(b)(1).

Official Form 106A/B Schedule A/B: Property page 3
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Debtor 4 Megan Sloan Hill Case number (if known)
BNo
0 Yes............. Institution name and description. Separately file the records of any interests.11 U.S.C. § 521 (c}:

25. Trusts, equitabie or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
MNo

0 Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Intemet domain names, websites, proceeds from ‘oyalties and licensing agreements

BNo

0D Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
Examples. Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

BNo
1 Yes. Give specific information about them...

Monay or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims or exemptions.

28. Tax refunds owed to you
MI No

DU Yes. Give specific information about them, including whether you already filed the returns and the tax years.......

29. Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

No

CI Yes. Give specific information. .....

30. Other amounts someone owes you
Exampies: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
benefits, unpaid loans you made to someone else

HNo
(1 Yes. Give specific information.

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, OF renter's insurance

MNo

Cl Yes. Name the insurance company of each policy and list its value.
Company name: Beneficiary: Surrender or refund
value:

32. Any interest in property that is due you from someone who has died
lf you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
someone has died.

@ No
Yes. Give specific information..

33, Claims against third parties, whether or not you have flied a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

MNo
O Yes. Describe each claim.........

34. Other contingent and untiquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
HNo

(1 Yes. Describe each claim.........

35. Any financial assets you did not already list

Hino

C Yes, Give specific information.
Official Form 106A/B Schedule A/B: Property page 4
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Debtor’ Megan Stoan Hill Case number (if known)

36. Add the dollar value of all of your entries from Part 4, } including any entries for pages you have attached
for Part 4. Write that number here us - cesescnetsans $195.00

EERE escrive Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 

 

37. Do you own or have any legal or equitable interest in any business-related property?
Hl No. Goto Part6.

D yes. Go to line 38.

Pence Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
HB No. Go to Part 7.

D1 Yes. Go to line 47.

GEER Describe All Property You Qwn or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

No
O Yes. Give specific Information.........

 

 

 

 

 

 

§4. Add the dollar value of all of your entries from Part 7. Write that number Here ...........c.:secesaeeeeeees $0.00
TEREEIEEE 1st tho Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 .. ” on sees esses seasesesee $0.00
56. Part 2: Total vehicles, line 5 $6,635.00

57. Part 3: Total personal and household items, line 15 $2,450.00

58. Part 4: Total financial assets, line 36 $195.00

59. Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

62. Total personal property. Add lines 56 through 61... Copy personal property total

$9,280.00 $9,280.00

 

63. Total of all property on Schedule A/B. Add line 55 + line 62 $9,280.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 5

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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 16 of 51

Fillin this information to tdentify your case:

Debtor 4 Megan Sloan Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

 

 

 

Case number

(if known) (1 Gheck if this is an

| amended filing
Official Form 106C

Schedule C: The Property You Claim as Exempt 419

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 1064/8) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount 23 exempt Altematively, you may clalm the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an axemption of 100% of fair market value under a law that limits the
exemption to a particular doilar amount and the value of the property is determined to exceed that amount, your exemption would be limited
te the applicable statutory amount.

GEGEIEE Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
Wi you are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § §22(b)(3)
OJ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the Information below.

Brief description.of the property and jine on Current value ofthe = Amount of the exemption you claim Specific laws that allow exemption
Schedule A that lists this property : partion youown / :
: -. -Copy the value from Check only one box for each exemption.

. Schedule A/B :
2015 Chevrolet Malibu 146000 miles $6,635.00 $6635.00 Fla. Stat. Ann. § 222.25(1)
(Debtor intends to keep collateral nde neieeeatai EE
and continue to pay the regular O 400% of fair market value, up to
monthly payment} any applicable statutory limit

Line from Schedule A/B: 3.1

 

2 couches, coffee table, 3 lamps, $1,420.00 my $1,420.00 ‘Fila. Stat. Ann. § 222.25(4)
desk, chair, vacuum cleaner, table §=§ ————_——— ean

with 4 chairs, microwave, 3 beds, 3 DO 100% of fair market value, up to

dressers, and 4 night stands any applicable statutory limit

Line from Schedule A/B: 6.1

 

DVD player, laptop, iPhone 8 Fla. Stat. Ann. § 222.25(4)
$630.00 $630.00
Line from Schedule A/B: 7.1 TT —_

 

O 100% of fair market value, Up to
any applicable statutory limit

 

General used clothing $200.00 mf $200.00 ‘Fila. Stat. Ann. § 222.25(4)
Line from Schedule A/B: 11.4 —--——_—_—-—_—_

1 100% of fair market value, up to
any applicable statutory limit

 

Engagement ring 0. Fla. Stat. Ann. § 222.25(4)
Line from Schedule AE: 12.1 $200.00 mm 8200-00
C1 100% of fair market value. up to

any applicable statutory limit

 

Official Form 106C. Schedule C: The Property You Claim as Exempt page 1 of 2
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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page17of51

 

 

Debter1 Megan Sloan Hill Case number {if known)
Brief description of the property and.line on. Current value ofthe = Amount of the exemption you claim Specific lays that allow exemption
Schedule A/S that lists this property“ ’ portion you own ,
Copy the value from Check anly one box for each exemption.
2 dogs $0.00 @ $0.00 Fla, Stat. Ann. § 222.25(4)

Line from Schedule A/B: 13.1

{7 100% of fair market value, up to
any applicable statutory limit

 

 

 

Checking account: Mid Florida Credit $195.00 $195.00 Fila. Stat. Ann. § 222.25(4)
Line tom Schedule A/B: 17.1 C) 100% of fair market value, up to

any applicable statutory limit
Savings account: Mid Florida Credit $0.00 $0.00 Fla. Stat. Ann. § 222.25(4)
tine tom Schedule AA: 17.2 O 400% of fair market value, up to

any applicable statutory lirnit

 

3. Are you claiming a homestead exemption of more than §170,3507
(Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)

@ No
1 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?

O No
O Yes
Official Form 106C Schedule C: The Property You Claim as Exempt page 2 of 2

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Fillin this information to identify your case:

Debtor 4 _Megan Sloan Hill

First Name Middle Name Last Name

 

Debtor 2
{Spouse if, filing) First Name Middle Name Last Name

 

United Siates Bankruptcy Coun forthe: MIDDLE DISTRICT OF FLORIDA

 

 

 

 

Case number

(if known) [) Check if this is an

| amended filing
Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property 1215

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number {if known).

1. Do any creditors have claims secured by your property?
01 No. Check this box and submit this form to the court with your other schedules. You have nothing eise to repert on this form.
BB Yes. Fill in all of the information below.

List All Secured Claims

 

 

 

 

 

 

 

 

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Column A Column 8 Column C
for each claim. if more than one creditor has a particular claim, fist the other creditors in Part 2. As Amount of claim Value of collateral Unsecured
much as possible, list he claims in alphabetical order according to the creditor's name. Go not deduct the that supports this portion
value of collateral. claim If any
| 2.1 | Reycas Auto Sales Describe the proparty that secures the claim: $7,459.00 $6,635.00 $824.00
Creditors Name 2015 Chevrolet Malibu 146000 miles
(Debtor intends te keep collateral
and continue to pay the regular
monthly payment)
As of the date you file, the claim Is: Ml th
1104 US 17-92 West » Check ail mat
Haines City, FL 33844 C1 contingent
Number, Street, City, Stale & Zip Code 0 unliquidated
O disputed
Who owes the debt? Check one. Nature of lien. Check all that apply.
WF vebtor 1 only CO An agreement you made (such as mortgage or secured
I
DO Debtor 2 onty car loan)
C2 Debtor 1 and Debtor 2 only oO Statutory lien (such as tax lien, mechanic's lien}
CO atteast one of the debtors and another = 2 Judgment lien from a lawsuit
DC Check if this claim relates to a & other (including a right to offset) Auto loan
community debt
Uncertain
Date debt was incurred date Last 4 digits of account number
Add the dollar value of your entries in Column A on this page. Write that number here: $7,459.00 |
If this is the last page of your form, add the dolar value totals from all pages. $7.459.00 |
Write that number here: 7, ‘

 

List Others to Be Notified for a Debt That You Already Listed

Use this page oniy if you have others to be notified about your bankruptcy for a debt that you already listed in Part 4. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 4, jist the additional creditors here. if you do not have additiona! persons to be notified for any
debts in Part 1, do not fill out or submit this page.

Official Form 1060 Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 19 of 51

Fillin this information io identify your case:

Debtor 4 Megan Sloan Hill

First Name Middle Name Last Name

Debtor 2
{Spouse if, filing)

 

First Name Middla Name Last Name

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

 

Case number

 

 

 

(if known) ) Check if this is an
amended filing

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims 12/15

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Cfficial Form 1064/8) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 1066). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

rues List Ail of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?

 

BB No. Go to Part 2.
QO Yes.

GEE List All of Your NONPRIORITY Unsecured Claims
3. Do any creditors have nonpriority unsecured claims against you?

 

C1 No. You have nothing to report in this part. Submit this form to the court with your other schedules.
a Yes.

4, Ust all of your nonpricrity unsecured clainws in the alphabetical order of the creditor who holds each claim, If a creditor has more than one nonpriority
unsecured claim, list the creditor separately for each claim. For each claim listed, ideatify what type of claim it is, Do not list claims already included in Part 1. if more
than one creditor hokis a particular claim, list the ather creditors in Part 3.\f you have more than three nonpriority unsecured dlaims fill out the Continuation Page of

 

 

 

 

 

Part 2.
Total claim
Credit Acceptance Co. Last 4 digits of account number xxXxX $4,276.00
Nonpriority Creditor's Name
25505 W. 12 Mile When was the debt incurred? 1/23/2018
Southfield, Ml 48034
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who Incurred the debt? Check one.
Wi pettor 1 only 0 Contingent
D1 Detter 2 only D1 uniiguidated
C1 Debtor 1 and Debtor 2 only C1 Disputed
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O) check if this claim is for a community C1 student loans
debt ( Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject te offaat? report as priority claims
no C1 debts to pension or profit-sharing plans, and other similar debts
s _ 2003 Chevroijet Tahoe
Dyes Other. Specify (Voluntary repossession)
Official Form 106 E/F Schedute EMF: Creditors Who Have Unsecured Claims Page 1 of &

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Debtor 1 Megan Sloan Hill

 

 

Case number (it known}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

42 Credit One Bank Last 4 digits of accountnumber Xxx $427.59
Nonpriority Creditor’s Name
6801 S. Cimarron Road When was the debt incurred? Uncertain date
Las Vegas, NV 89113
Number Street City State Zip Code As of the date you file, the claim Js: Check all that apply
Who incurred the debt? Check one.
BB dettor 1 only Oo Contingent

ebtor 2 only Uniquidated

J Debtor 2 on! Oo id
DD Debtor 1 and Debtor 2 only D pisputea
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D check if this claim is for a. community C1 student joans
debt D obligations arising out of a separation agreement or divorce that you did not
ls the claim subject to offset? report as priority claims
Bo C1 Debts to pension or profit-sharing plans, and other similar debts
D Yes Ml other. Specify Credit card purchases

43 Duke Energy Florida Last 4 digits of account number 3000 $196.00
Nonpriority Creditors Name
P. O, Box 1004 When was the debt incurred? 11/46/2020
Charlotte, NC 28201
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
D1 Debtor 2 only 0 unliquidated
CO debtor 1 and Debtor 2 only OC pDisputea
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C) Check if this claim is for a community C1 student loans
debt 0 obligations arising out of a separation agreement or divorce that you did not
ts the claim subject to offset? report as priority claims
| | No C1 Debts to pension or profit-sharing plans, and other similar debts
OQ yes Botner. Specify Utility bill

44 Fed Loan Servicing Last 4 digits of account number = xxxx $1,108.00
Nonpriorty Creditor's Name
P.O. Box 60610 When was the debt incurred? 12/11/2019
Harrisburg, PA 17106
Number Streat City State Zip Cade As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi etter 1 only Ci contingent
CO pettor 2 only D) Untiquidated
D1 pebter 1 and Debtor 2 only D pisputed
C1 atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Oi check if this claimis for a community Student ioans
debt C2 obligations arising out of a separation agreement or divarce that you did not
Is the claim subject to offset? report as priority claims
a Na oO Debts to pension or profit-sharing plans, and other similar debts
O yes CJ other. Specify

Student loan
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 5

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Best Case Bankruptcy
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Debtor 1 Megan Sloan Hill

[4s | FingerhutWebbank

 

 

 

Case number (if known}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Last 4 digits ofaccount number XxXXx $814.93
Nonpriority Creditors Name
6250 Ridgewood Road When was the debt incurred? 8/17/2020
Saint Cloud, MN 56303-0820
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Whe incurred the debt? Check one.
Wi Debtor 1 only Oo Contingent
1 Debtor 2 only Qo Unliquidated
DO Debtor 4 and Debtor 2 onty D visputea
1 Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
(0 Check if this claim is for a. community C1 student ioans
debt © Obtigations arising out of a separation agreement or diverce that you did aot
Is the claim subject to offset? report as priority claims
8 No oO Debts to pension or profit-sharing plans, and other similar debts
D ves BM other. Specity Credit line
First Premier Last 4 digits of account number = =XXXKX $423.00
Nonprionty Creditors Name
3820 N. Louise Avenue When was the debt incurred? 7/2/2020
Sioux Falls, SD 57107
Number Street City State Zip Code As of the date you file, the claim is: Check al) that apply
Whe incurred the debt? Check one.
@ pentor 1 only ol Contingent
O Debtor 2 only oO Unliquidated
D1 Debtor 1 and Debtor 2 only Oo Disputed
OD atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O cheek if this claim is for a community CJ student toans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bino CJ Debts to pension or profit-sharing plans, and other similar debts
O ves Mi other. Specity Credit card purchases
LandSouth Management Last 4 digits of account number 4xxx $825.00
Nonpriority Creditors Name
1945 The Exchange, #120 When was the debt incurred? 8/7/2017
Atlanta, GA 30339
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Creck one.
BB pebtor 1 only oO Contingent
DB pebtor 2 only CT unliquidated
D1 Debtor 1 and Debtor 2 only C1 pisputea
D Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
TD check if this claim is for a community C1 Student icans
debt Oj Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Bi no © Debts to pension or profit-sharing plans, and other similar debts
1 ves @ other. Specity Broken apartment lease
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 5

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Debtor 4 Megan Sloan Hill

Quest Diagnostics Inc

Case number {it xnewn}

 

 

 

 

 

 

 

Last 4 digits of account number = xXxxx $478.00
Nonpririty Creditor's Name _
P.O. Box 740781 When was the debt incurred? 12/21/2020
Cincinnati, OH 45274-0781
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only Oi Contingent
D1 Debtor 2 only Oo Unliquidated
D Debtor 1 and Debtor 2 only o Disputed
OO Atieast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C1 Student loans
debt C1 obligations arising out of a separation agreement or divoree that you did not
is the claim subject to offset? report as priority claims
Bno CO debts to pension or profit-sharing plans, and other similar debts
a Yes a Oiher. Specify Medical bill
Tampa Bay FCU Last 4 digits of account number xxXxX $9,179.00
Nonpriority Creditors Name
P.O. Box 7492 When was the debt incurred? 9/20/2014

Tampa, FL 33673-7492

 

 

Number Street City State Zip Code
Who incurred the debt? Check one.

a Debtor 1 only

C Debtor 2 only

Ci Debtor 4 and Debtor 2 only

Atleast one of the debtors and anather

C1 Check if this claim ia for a community
debt
Is the claim subject to offset?

B No
Bi ves

As of the date you file, the claim is: Check all that apply

oO Contingent

OC unliquidated

Oo Disputed

Type of NONPRIORITY unsecured ctaim:
OJ Student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO debts to pension or profit-sharing plans, and other similar debts

2010 Hyundai Sonata

MB other. Specity {Voluntary repossession)

 

 

List Others to Be Notified About a Debt That You Already Listed

§. Use this page onfy if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarty, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you de not have additional persons to be
notified for any debts in Parts 4 or 2, do not fill out or submit thia page.

On which entry in Part 1 or Part 2 did you list the original creditor?

Line 4.8 of (Check one}: C1 Part 1: Creditors with Priority Unsecured Claims

M8 part 2: Creditors with Nonpriority Unsecured Claims

Name and Address

Credit Collections Svcs
RE: Quest Diagnostics
P. 0, Box 9134

Needham Heights, MA 02494
Last 4 digits of account number

 

Name and Address

Helvey & Associates

RE: Duke Energy Florida
1015 East Center Street
Warsaw, IN 46580-3420

On which entry in Part 1 or Part 2 did you list the original creditor?
Line 4,3 of (Check one): CO Part 1: Creditors with Priority Unsecured Claims

WF Part 2: Creditors with Nonpriority Unsecured Claims

Last 4 digits of account number

 

Name and Address

Tampa Bay FCU

3815 N. Nebraska Ave.
Tampa, FL 33603

On which entry in Part 1 or Part 2 did you list the original creditar?
Line 4,9 of (Check one); Cl Part 1: Creditors with Priority Unsecured Claims

a Part 2: Creditors with Nonprionty Unsecured Claims

Last 4 digits of account number

 

(GEEELAM Ada the Amounts for Each Type of Unsecured Claim

Official Form 106 G/F Schedule E/F: Creditors Who Have Unsecured Claims
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Page 4 of 5
Bast Case Bankrupicy
Debtor 1 Megan Sloan Hill

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Case number (it known)

 

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 25 U.S.C. §159. Add the amounts for each
type of unsecured claim.

Total
claims
from Past 1

Total
claims
from Part 2

Official Form 106 E/F

6a.

6b.

6d.

Ge.

6f.

89.
6h,

Gi.

6}.

Domestic support obligations

Taxes and certain other debts you owe the government
Ciaims for daath or personal injury while you were intoxicated

Other, Add ait other priority unsecured claims. Write that amount here.

Total Priority. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce that
you di¢ not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts

Other. Add all other nonpriority unsecured claims. VWrite that amount
here.

Total Nonpriority. Add lines 6f through 6i.

Schedule E/F: Creditors Who Have Unsecured Claims

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8a.

6b.
&c.
6d.

Ge.

6f.

6g.
6h.

6i.

6.

 

 

 

Total Claim
$ 0.00
s 0.00
0.00
Ss 0,00
Ss 0,00
Total Claim
$ 1,108,006
3 0.00
$ 0.00
5 16,619.52

 

 

$

17,727.52

 

Page & of 5
Bast Case Bankruptcy
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 24 of 51

Fillin this information to identify your case:

Debtor 4 Megan Stoan Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Nama

 

United States Bankruptcy Courtfor the. MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known) OO Check if this is an
amended filing

 

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 42115

 

Be as complete and accurate as possibie. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

4. Do you have any executory contracts or unexpired leases?
MI No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
Cl Yes. Fill in afi of the information below even if the contacts of leases are listed on Schedule A/B: Property (Official Form 106 A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, call phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease Is for
Name, Number, Street, City, State and ZiP Code

 

2.1
Name

 

 

Number Street

 

City State ZIP Code
2.2
Name

 

 

Number Street

 

City. State ZIP Code
2.3

Name

 

 

Number Street

 

City State ZIP Code
2.4
Name

 

 

Number Street

 

City State ZIP Code
25

Name

 

 

Number Street

 

City State ZIP Code

Official Farm 106G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 25 of 51

Fill in this information te identify your case:

Debtor 1 Megan Stoan Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
{if known) (1 Check if this is an

amended filing

 

 

 

Official Form 106H
Schedule H: Your Codebtors 1245

Codebtors are pegple or antities who are also ilable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

+. Do you have any codebtors? (if you are filing a joint case, do not list either spouse as a codebtor.

MNo
Clyes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and terntories include
Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go toline 3.
CD Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

3. In Column 4, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
in line 2 again as a codabtor only if that parson is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
Form 106D), Schedule E/F (Official Form 106E/F), or Schadule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill

 

 

 

 

 

 

out Column 2.
Column 1: Your codebtor Column 2: The creditor to whom you owe the debt
Nama, Number, Street, City, State and ZIP Code Check all schedules that apply:
OO Schedule D, line
Name C1 Schedule F/F, line
D Schedule G, line
Number Street
City State ZIP Code
DO Schedule D, line
Name O Schedule EJF, line
OO Schedule G. line
Number Street
City Stata ZIP Code
Official Form 106H Schedule H: Your Codebtors Page 1 of 1

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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 26 of 51

Fil in this weformation to identify your case:

Debtor 4 Megan Sloan Hill

 

Debtor 2
(Spouse, if filing)

 

United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA

Case number Check if this is:
At known) 0 An amended filing

0 A supplement showing postpetition chapter
13 income as of the following date:

 

 

 

Official Form 1061 MM 7 DDI YYYY

Schedule |: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equaliy responsible for
supplying correct information. if you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. if more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

[XUREEEINME Describe Employment

1. Fillin your employment

   
     

    

 

 

information. " a fae a
if you have more than one job, Empl t stat @ Empioyed C1 Employed
attach a separate page with Mployment status
information about additional C1 Not employed CJ Not employed
employers. : .
Ploy’ Occupation Office Manager
Include part-time, seasonal, or '
self-employed work. Employer's name Peak Dental

 

Occupation may include student Employer's address

or homemaker, if it applies. 780 East Main Street

Bartow, FL 33830

 

How long employed there? 3 Weeks

 

Give Details About Monthly Income

Estimate monthly Income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below, If you need
mere space, attach a separate sheet to this form.

 

List monthly gross wages, salary, and commissions (before all payroll

 

 

 

2. deductions). If not paid monthly, caiculate what the monthly wage would be. 2 § 5,000.00 § NIA
3. Estimate and list monthly overtime pay. 3. +$ 0.00 = +5 NIA
4. Calcuiate gross income. Add line 2 + line 3. 4.1) § 5,900.00 $ NIA

 

 

 

 

Official Form 1061 Scheduie |: Your Income page 1
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 27 of 51

Debtor 1 Megan Sloan Hill Case number [if known)

 

Copy jine 4 here 4,

 

 

5. List all payrotl deductions:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5a. Tax, Medicare, and Social Security deductions 5a. § 437.49 $ N/A
5b. Mandatory contributions for retirement plans 5b. §$ 0.00 $ NIA
Sc. Voluntary contributions for retirement plans 6c. §$ 0.00 $ N/A
5d. Required repayments of retirement fund loans bd. § 0.00 §& NIA
5e. Insurance Se. § 0.00 «§ NIA
5f. Domestic support obligations Sf § 0.00 «6S NIA
5g. Union dues 5g. § 0.00 $ NIA
Sh. Other deductions. Specify: Sht+ $ 0.00 + 3% NIA
6. Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h. 6. § 437.49 $3 NIA
Calculate total monthly take-home pay. Subtract line 6 from line 4. 7 § 4,562.51 $ N/A
8. List all other Income regularly received:
8a. Net income from rental property and from operating a business,
profession, or farm
Attach a statement for each property and business showing gross
receipts, ordinary and necessary business expenses, and the total
monthly net income. fa. $ 0.00 $ NIA
8b. Interest and dividends ab.  §$ 0.00 § N/A
8c. Family support payments that you, a aon-filing spouse, or a dependent
regularly receive
Inctude alimony, spousal support, child support, maintenance, divorce
settlement, and property settlement. 8. §$ 498.00 $ NiA
8d. Unemployment compensation &d. §$ 0.00 3 N/A
8e. Social Security ge. § 0.00 & N/A
&f. Other government assistance that you regularly receive
Include cash assistance and the value {if known) of any non-cash assistance
that you receive, such as food stamps (benefits under the Supplemental
Nutrition Assistance Program) or housing subsidies.
Specify: af. §$ 0.00 $ N/A
8g. Pension or retirement income 8g. $ 6.00 6§ N/A
8h. Other monthly Income. Specify: Bh+ $ 0.00 + $ NIA
9. Add all other income. Add lines 8a+8b+8c+8d+8e+8i+8g+hh. 9. 13 498.00, /% NIA
10, Calculate monthly income. Add line 7 + jine 9. 10. /$ 5,060.51 | +/$ N/A|=|$ 5,060.51
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
other friends or relatives.
Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
Specify: 44. ¥5 0.00
12. Add the amount in the last column of line 10 to the amount in fine 14. The result is the combined monthly income.
Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
applies 12./ $ 5,060.51
Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?

a No.
Do Yes. Explain: [

 

Official Form 1061 Schedule I: Your Income page 2
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 28 of 51

Full in thus information to identify your case

 

 

Debtor 1 Megan Sloan Hill Check if this is:

LCL) An amended filing
Debtor 2 O Asupplement showing pastpatition chapter
(Spouse, # filing) 13 expenses as af the following date:
United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA MM /DD/¥YYY

 

Case number
{if known)

 

 

 

Official Form 106J
Schedule J: Your Expenses 12/45

 

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Describe Your Household

 

1. Is this a jolat case?

i No. Go to line 2.
D Yes. Dogs Debtor 2 live In a separate household?

Ono
[] Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents? () No

 

 

 

 

Do not list Debter 1 and Bye Fill out this information for Dependent’s relationship to Dependent's Does dependent
Debtor 2. 8. each dependent............. Debtor 1 or Debtor 2 age live with you?
eee eee
Do not state the No
dependents names. Son 5 ves
ONo
Daughter 9 Hi yes
ONeo
Son 14 Yes
ONc
0 Yes
3. Bo your expenses include MNo
expenses of people other than C1 Yes

yourself and your dependents?

GENES Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date uniess you are using this form a5 a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule }: Your income
(Official Form 1061.)

 

4. The rental or home ownership expenses for your residence. Include first mortgage
payments and any rent for the ground or lot. 4. 1,200.00

If not included in line 4:

4a, Real estate taxes 4a. §$ 0.00
4b. Property, homeowner's, or renter’s insurance 4b. §$ 9.00
4c. Home maintenance, repair, and upkeep expenses 4c. §$ 0.00
4d. Homeowner's association or condominium dues 4d. §$ 0.00
5. Additional mortgage payments for your residence, such as home equity loans 5. §$ 0.00

Official Form 106J Schedule J: Your Expenses page 1
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 29 of 51

Debtor1 Megan Sloan Hill

Case number {if known}

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

6. Utilities:

6a. Electricity, heat, natural gas 6a. $ 230.00

6b. Water, sewer, garbage collection 6b. §$ 55.00

6c. Telephone, cell phone, Internet, satellite, and cable services 6c. $ 275.00

6d. Other. Specify: 6d. $ 0.00
7. Food and housekeeping supplies 7. § 800.00
8. Childcare and children's education costs 8 §$ 600.00
9. Clothing, laundry, and dry cleaning 9. §$ 200.00
10. Personal care products and services 10. $ 150.00
+1. Medical and dental expenses 11. $ 125.00
12, Transportation. Include gas, maintenance, bus or train fare.

Do not include car payments. 12. $ 400.00
13. Entertainment, clubs, recreation, newspapers, magazines, and books 13. $ 300.00
14. Charitabie contributions and religious donations 14, $ 0.00
15. Insurance.

Do not include insurance deducted from your pay or included in tines 4 or 20.

15a, Life insurance 16a. $ 0.00

15b. Heaith insurance 15b. $ 0.00

15c. Vehicle insurance 1c. $ 270.00

15d, Other insurance. Specify: 18d. $ 0.00
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

Specify: 16. $ 0.00
17. Installment or lease payments:

17a. Car payments for Vehicle 1 17a. $ 360.00

17b. Car payments for Vehicle 2 7b. § 0.00

17c¢. Other. Specify: 17c. § 0.00

17d, Other, Specify: 17d. §$ 0.00
18. Your payments of alimony, maintenance, and support that you did not report as

deducted from your pay on line 5, Schedule |, Your income (Official Form 106i). 18. § 0.00
19. Other payments you make to support others who do not live with you. $ 0.00

Specify: 19.
20, Other real property expenses not included in lines 4 or 5 of this form or on Schedule f: Your income.

20a. Mortgages on other property 20a. $ 0.00

200. Real estate taxes 20b. § 0.00

20c. Property, homeowner's, or renters insurance 20c, $ 0.00

20d. Maintenance, repair, and upkeep expenses 20d. $ 0.00

20e. Homeowner's association or condominium dues 20e. $ 0.00
21. Other: Specify: Pet expenses 21, +$ 50.00
22. Calculate your monthly expenses

22a. Add lines 4 through 21. $ §,015.00

22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 $

22c. Add line 22a and 22b. The result is your monthly expenses. $ 5,015.00
23. Calculate your monthly net income.

23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $ §,060.51

23b, Copy your monthly expenses from line 22c above. 23b. -$ 5,015.60

23c. Subtract your monthly expenses from your monthly income.

The result is your monthly net income, 23e. | $ 45.51

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a

modification ta the terms of your mortgage?

No.

C Yes. | Explain here:

Official Form 106J Schedule J: Your Expenses page 2
Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 30 of 51

Fillin this information to identify your case:

Debtor 1 Megan Sloan Hill

First Name Middia Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: = MIDDLE DISTRICT OF FLORIDA

 

 

 

 

Case number

(it known) OO Check if this is an
amended filing

Official Form 106Dec

Declaration About an Individual Debtor's Schedules 12415

 

if two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or

obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3671.

Did you pay or agree to pay someone who is NOT an attomey to help you fill out bankruptcy forms?

 

O Ne

@ Yes. Nameofperson Katherine M. Workman Attach Bankruptcy Petition Preparer's Notice,
Dectaration, and Signature (Official Form 119)

 

Under penalty of perjury, | declare that i have read the summary and schedules filed with this declaration and

 

 

 

 

x
Signature of Debtor 2
Signature ofDebtor 1
Date Date
Official Form 106Dec Deciaration About an Individual Debtor's Schedules

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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 31 of 51

Fill in this information to identify your case:

Debtor 1 Megan Stoan Hill

First Name Middle Name Last Name

 

Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

 

United States Bankruptcy Court forthe: MIDDLE DISTRICT OF FLORIDA

 

Case number
(if known} O Check if this is an
amended fiting

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 4g

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

GEREEE Give Dotails About Your Marital Status and Where You Lived Before

1. What is your current marital status?

EF Married
@ Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

M@ No

O Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1 Prior Address: Dates Dabtor 1 Debtor 2 Prior Address: Dates Debtor 2
lived there lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and temtories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

@ Wo
Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 1064).

a the Sources of Your Income

Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from ail jobs and all businesses, including part-time activities.

you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

No

@ Yes. Fill in the details.

 

 

Debtor 1 Debtor 2
Sources of income Gross income Sources of income Gross income
Check ail that appty. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
From January 1 of current year until gg Wa inci $23,400.71 O Waces. commissions
i" ges, commissions, 1 ges, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
C1 Operating a business CO Operating a business
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 32 of 51

 

 

 

Debter1 Megan Sloan dill Case number (if known}
Debtor 4 Debtor 2
Sources of income Gross income Sources of income Gross income
Check all that apply. (before deductions and Check all that apply. (before deductions
exclusions) and exclusions)
For last calendar year: BJ Wages. commissions $25,663.07 (4) Wages, commissions,
(January 1 to December 34, 2026} bonuses, tips bonuses, tips
© Operating a business Ci Operating a business
For the calendar year before that: = BJ Wages. commissions. $23,435.00 [2 Wages, commissions,
(January 1 to December 31, 2019 } bonuses, tips bonuses, lips
(1) Operating a business C Operating a business

 

5. Did you recelve any other income during this year or the two previous calendar years?
Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
and other public benefit payments; pensions; rental income; interest; dividends, money collected from lawsuits: royalties; and gambling and lottery
winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

List each source and the gross income from each source separately. Bo not include income that you listed in line 4.

O No
M Yes. Fill in the details.

 

 

 

 

 

Debtor 1 Debtor 2
Sources of income Gross income from Sources of income Gross income
Describe beiow. each source Describe below. {before deductions
(before deductions and and exclusions}
exclusions)
From January 4 of current year until Child Support $1,980.00
the date you filed for bankruptcy:
Child Support $1,008.00
For jast calendar year: Child Support $2,016.00
(January 1 to Decamber 341, 2020 }
Child Support $3,560.00
For the calendar year before that: Child Support $2,016.00
(January 1 to December 31, 2019 }
Child Support $3,960.00

 

List Certain Payments You Made Before You Fited for Bankruptcy _

6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

DO No. Nelther Debtor ¢ nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8} as “incurred by an
individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6 825* or mare?

O No. Go toline 7.

O yes List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after thai for cases filed on or after the date of adjusiment.

Gfficiat Form 107 Statemant of Financial Affairs for individuals Filing for Bankruptcy page 2
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Case 8:21-bk-04751-MGW Doc1 Filed 09/16/21 Page 33 of 51

Debtor1 Megan Sloan Hill Case number (if known)

 

H Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

Ono. Gotoline7.
M@ Yes List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not

include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
attorney for this bankruptcy case.

Creditor's Name and Address Dates of payment Total amount Amount you Was this payment for ...
paid still owe

Reycas Auto Sales 6/27/2021 $1,080.00 $7,459.00 (Mortgage

1104 US 17-92 West 5/27/2021 Wi Car

Haines City, FL 33844 4/27/2021

CO Credit Card

0 Loan Repayment

CO Suppliers or vendors
DO other__

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and

alimony.

H No

DD sYes. List all payments to an insider.

Insiders Name and Address Dates of payment Total amount Antount you Reason for this payment
paid stil owe

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an

insider?

Include payments on debts quaranteed or cosigned by an insider.

M No

CO Yes. List alt payments to an insider

Insider's Name and Address Dates of payment Total amount Amount you Reason for this payment
pald stillowe = include creditor's name

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?

List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

M No
QO sYes. Fill in the details.

Case tittle Nature of the case Court or agency Status of the case
Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

@ No. Go ta line 11.
© Yes. Fill in the information below.

Creditor Name and Address Describe the Property Date Value of the
property

Expiain what happened
Official Form 107 Statement of Financial Affairs for individuals Fiting for Bankruptcy page 3

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Debter? Megan Sloan Hill

Case number (if known}

 

11, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?
M No
O Yes. Fill in the details.
Creditor Name and Address Describe the actlon the creditor took Date action was Amount
taken
12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
court-appointed receiver, a custodian, or another official?
HB No
O Yes

GEIGER List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
B No

OsYes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts

Person to Whom You Gave the Gift and
Address:

14, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
BH no

O Yes. Fill in the details for each gift or contribution.

Gifts or contridutions to charities that total Describe what you contributed Dates you Value
more thar $600 contributed

Charity's Name

Address {Number, Street, City, State and ZIP Code)

GEER List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
or gambling?

@ No
O Yes. Fill in the details.

Describe the property you Jost and Descrive any insurance coverage for the loss

Date of your Value of property
how the loss occurred

Include the amount that insurance has paid. List pending 88 lost
insurance claims on iine 33 of Schedule A/B: Property.

GEGEARE List Certain Payments or Transfers

16. Within 4 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
consulted about seeking bankruptcy or preparing a bankruptcy petition?

include any altomeys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

O No
@ Yes. Fill in the details,

Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred

or transfer was payment
Email or website address made
Person Who Made the Payment, if Not You
Central FL Court Document Srv 7/9/2021 $195.00
2432 US Highway 92 East
Lakeland, FL 33801
www.CFCourtDocs@yahoo.com

Official Form 107 Statement of Financial Affairs for Individuals Fiting for Bankruptcy

page 4
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Debtor 1 Megan Sloan Hill Case number (i known)
Person Who Was Paid Description and value of any property Date payment Amount of
Address transferred or transfer was payment
Email or wobsite address. mate
Person Who Made the Payment, if Not You
Access Credit Counseling, inc. g/9/2021 $25.00

633 W Sth Street, Ste 26001
Los Angeles, CA 90071
www.AccessCounselinginc.org

 

17. Within 4 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

MH No

O ‘Yes. Fill in the details.

Person Who Was Paid Description and value of any property Date payment Amount of

Address transferred or transfer was payment
made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred In the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (Such as the granting of a security interest or mortgage on your property). Do not
include gifts and transfers that you have already fisted on this statement.

H No
O Yes. Fill in the details.
Person Who Recelved Transfer Description and value of Describe any property or Date transfer was
Address property transterred payments received ordebts made
paid in exchange
Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
beneficiary? (These are often called asset-protection devices.)

M@ No
O sYes. Fill in the details.

Name of trust Description and value of the property transferred Date Transfer was
made

GEE List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

M@ No

OD Yes. Fill in the details.

Name of Financial Institution and Last 4 digits of Type of account or Date account was Last balance

Address (Number, Street, City, State and ZIP account number instrument closed, sold, before closing or

Code} moved, or transfer
transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
cash, or other valuables?

@ No
O ‘es. Fill in the details.
Name of Financial Institution Who else had access to it? Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code) Address (Number, Street, City, have Kt?
State and ZiP Coda)
Official Form 107 Statement of Financia! Affairs for Individuals Filing for Bankruptcy page §

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Debtor 1 Megan Sloan Hill Case number (i known)

 

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

@ No
1 Yes. Fill in the details.
Name of Storage Factlity Who alse has or had access Describe the contents Do you still
Address (Number, Street, City, State and ZIP Code} to K7 have it?
Address (Number, Sweet, City,
State and ZIP Code)

EEE Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust

for someone.

@ No

1 Yes. Fill In the details.
Owner's Name Where Is the property? Describe the property Value
Address (Humber, Street, City, State and ZIP Code} oa Street, City, State and ZIP

GEESE Give Detalis About Environmental Information

For the purpose of Part 10, the following definitions apply:

B Environmental jaw means any federal, state, or local statute or ragulation concerning pollution, contamination, releases of hazardous or

toxic substances, wastes, or material into the air, jand, soil, surface water, groundwater, or other medium, including statutes or
regulations controlling the cleanup of these substances, wastes, or material.

Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
to own, operate, or utilize it, including disposal sites.

Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notifled you that you may be liable or potentiaily liable under or in violation of an environmental law?

@ No

Dyes. Fill in the details.
Name of sita Governmental unit Environmental law, if you Date of notice
Address (number, Sirect, City, State and ZIP Code} Address (Number, Street, City, Stateand == know it

ZIP Code}

25, Have you notified any governmental unit of any release of hazardous material?

@ Wo

O Yes. Fill in the details.
Name of site Governmental unit Environmental iaw, if you Date of notice
Address (Number, Street, City, State and ZIP Code} Address (Number, Street, City, Stateand = know it

2P Code}

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

@ No
O Yes. Fill In the details.
Case Title Court or agency Nature of the case Status of the
Case Number Name case
Address (Number, Street, City,
State end ZIP Code)

GEZRREn Give Details About Your Business or Connections to Any Business

27, Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
Cl A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
0] A member of a limited liability company (LLC) or limited Ilability partnership (LLP)
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

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Debtor 1 Megan Sloan Hill Case number (i known)

 

OA partner in a partnership

C1 An officer, director, or managing executive of a corporation

1 An owner of at least 5% of the voting or equity securities of a corporation
fl Wo. None of the above applies. Go to Part 12.

C1 Yas. Check all that apply above and fill in the details below for each business.

Business Name
Address
(Number, Street, City, State and ZIP Code)

Describe the nature of the business Empioyer Identification number

Do not Include Social Security number or ITIN.
Name of accountant or bookkeeper

Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyones about your business? include all financial
institutions, creditors, or other parties.

M@ No
C1 Yes. Fill in the details below.

Name Date issued
Address

(Number, Street, City, State and ZIP Code}

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy

page ?
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Debtor 1 Megan Sloan Hill Case number (itknown)

 

GEREEAI Sign Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the answers
are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

 

Signature of Debtor 2

 

Date

 

Did you attach additional pages to Your Statement of Financial Affairs for individuals Filing for Bankruptcy (Official Form +07)?
BNo

D Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
G No

@ Yes. Name of Person Katherine M. Workman __. Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form
119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page &

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Fill in this information to tdentify your case:

Debtor 1 Megan Sloan Hill

First Nama Middie Name Last Name

 

Debtor 2
{Spouse if, fing) First Name Middle Name Last Name

 

United States Bankruptcy Gourt for the: MIODLE DISTRICT OF FLORIDA

 

 

 

 

Case number

(if known) OO Check if this is an
amended filing

Official Form 108

Statement of Intention for Individuals Filing Under Chapter 7 1246

 

if you are an Individual filing under chapter 7, you must fill out this form If:
I creditors have claims secured by your property, or

a you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
on the form

if two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
sign and date the form.

Be as complete and accurate as possible. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

 

GERRI List Your Creditors Who Have Secured Claims

4. For any creditors that you listed in Part 1 of Schedule BD: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
Information bel

   
 

Creditors Reycas Auto Sales OO Surrender the property. D1) No
name: CO Retain the property and redeem it.

i Retain the property and enter into a B Yes
Description of 2045 Chevrolet Malibu 146000 Reaflnmation Agreement
property miles 2 Retain the property and [explain]:

(Debtor intends to keep
collateral and continue to pay
the regular monthly payment)

securing debt:

 

 

[GREG List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G}, fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in offect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 

     

Lessor's name:
Description of leased

 

Property: 0 Yes

Lessors name: D No

Description of leased

Property: Oj Yes

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 1

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Debtor? Megan Sloan Hill Case number it known)
Lessor's name: D No
Description of leased

Property: DD Yes
Lessor’s name: CO) No
Description of leased

Property: O Yes
Lessor's name: O No
Description of leased

Property: O Yes
Lessor's name: OO No
Description of leased

Property: O Yes
Lessors name: O No
Description of leased

Property: O Yes

EERE Sign Below

Under penalty of perjury, ! declare that | have indicated my intention about any property of my estate that secures a debt and any personal
property that is spbject to an unexpired <

   
 

 

  

 

xX
Megan Slo Signature of Debtor 2
Signature of Débtor 1
Date Date
Official Form 108 Statement of intention for Individuals Filing Under Chapter 7 page 2

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ea IEMA SM RREOL Mac] Lessee ae ce er es

e box only as diracteg in this form: and in Farm

Debtor 4 Megan Sloan Hill

 

 

Debtor 2
{Spouse, if filing)

United States Bankruptcy Court for the: Middle District of Florida Oo 2. The calculation to determine if a presumption of abuse
' picy * ‘ applies will be made under Chapter 7 Means Test

Calculation (Official Form 1224-2).

@ +. there is no presumption of abuse

 

 

Case number
(known)

 

(C0 3. The Means Test does not apply now because of
quatified military service but it could apply later.

(J Check if this is an amended filing

 

Official Form 122A - 1
Chapter 7 Statement of Your Current Monthly Income 04/20

 

 

Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the Jine number to which the additional information applies. On the top of any additional pages, write your name and
case number (If known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
qualifying military service, complete and file Statement of Exeniption from Presumption of Abuse Under § 707(b\{2} (Official Form 122A-1Supp) with this form.

Calculate Your Current Monthly Income

 

1. What is your marital and filing status? Check one only.
Mf Not married. Fill out Column A, lines 2-11.
C1 Married and your spouse ts filing with you. Fill out both Columns A and B, lines 2-11.
C Married and your spouse is NOT filing with you. You and your spouse are:
© Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

Ci Living separately or are legally separated. Fill out Catumn A, lines 2-14; do not fill out Calumn 8. By checking this box, you declare under
penalty of perjury that you and your spouse ave legally separated under nonbankruptcy law that applies or that you and your spouse are
living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C § 707(b)(7}(B).

Fill inthe average monthly Income that you received from ail sources, derived during the 6 full months before you file this bankruptcy case. 11U.S.C.§ .
101(40A). For exampis, if you.are fling on September 75, the 6-month period would be March 1 through:August 31. If the amount of your manthiy income varied during
the 6:months, add:tne income:-for afi & months and divide the total by 6. Fill in the result. Do not include any income.amount mote than once.-For exampie, if both
spouses-own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column &
Debtor 1 Debtor 2 or
nor-filing spouse

 

2. Your gress wages, salary, tips, bonuses, overtime, and commissions (before all

 

payroll deductions). $ 3,850.04 §
3. Alimony and maintenance payments. Do not include payments from a spouse if
Column B is filled in. $ 0.00 §

 

4. All amounts from any source which are regularly paid for househoid expenses
of you or your dependents, including child support. Include regular contributions
from an unmarried partner, members of your household, your dependents, parents,
and roommates. Include regular contributions from a spouse only if Column B is not
filled in. Do not include payments you listed on line 3. $ 498.00 §

5. Net income from operating a business, profession, or farm

 

 

 

 

 

 

 

Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses $ 0.00
Net monthly income from a business, profession, or farm $ 0.00 Copy here -> § 0.00 §
6. Net income from rental and other real property
Debtor 1
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses 3 0.00
Net monthly income from rental or other real property = $ 0.00 Copy here > $ 0.00 = §
7. Interest, dividends, and royalties $ 0.00 «§
Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 4

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Debtor 1 Megan Sloan Hill Case numer (if known)
Cofumn A Column 8
Debtor 4 Debtor 2:or
non-filing spouse
8. Unemployment compensation $ 0.00 $

Do not enter the amount if you contend that the amount received was a benefit under
the Social Security Act. Instead, list it here:

For you $ 0.00

 

Foryourspouse . $

9. Pension or retirement income. Do not include any amount received that was a
benefit under the Social Security Act. Also, except as stated in the next sentence, do
Nol include any compensation, pension, pay, annuity, or allowance paid by the
United States Government in connection with a disability, combat-related injury or
disability, or death of a member of the uniformed services. If you received any retired
pay paid under chapter 61 of title 10, then include that pay only to the extent that it
does not exceed the amount of retired pay to which you would otherwise be entitled
if retired under any provision of title 10 other than chapter 61 of that title. $ 0.00 5

10. Income from all other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act; payments made
under the Federal law relating to the national emergency declared by the President
under the National Emergencies Act (50 U.S.C. 1601 ef seq.) with respect to the
coronavirus disease 2019 (COVIB-19); payments received as a victim of a war
crime, a crime against humanity, or international or domestic terrorism; or
compensation pension, pay, annulty, or allowance paid by the United States
Govemment in connection with a disability. combat-related injury or disability, or
death of a member of the uniformed services. If necessary, list other sources on a
separate page and put the total below..

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ 0.00 «$
$ 0.00 $
Total amounts from separate pages, if any. + $ 0.00 $
11. Calculate your total current monthly income. Add lines 2 through 10 for
each column. Then add the total for Column A to the total for Column B. $ 4,348.04 4 § $ 4,348.04
Total current monthly
income
Determine Whether the Means Test Applies to You
12. Calculate your current monthly income for the year. Follow these steps:
12a. Copy your total current monthly income trom line 11 Copy line 11 here=> $ 4,348.04
Multiply by 12 (the number of months in a year) x 12
12b. The result is your annual income for this part of the form 12b. | $ 52,176.48

 

 

 

13. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live.
Fill in the number of people in your household. [ 4 |

Fill in the median family income for your state andsize ofhousenold, 43. }3 84,165.00
Te find a list of applicable median income amounts, go oeniine using the link specified in the separate instructions

for this form. This list may also be available at the bankruptcy clerk's office.

 

14, How do the lines compare?

14a. @ Line 12b is iess than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Bo NOT fill out or file Official Form 1224-2.

14b. (Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 1224-2.
Go to Part 3 and fill out Form 1224-2.

Sign Below

 

 

 

 

Official Form 1224-1 / Chapter 7 Statement of Your Current Monthly income page 2
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Debtor 1 Megan Sioan Hill Case number Uf known}

 

Signatyre pi Debtdr 4

   
 

If you checked line 14a, do NOT fill out or file Form 122A-2,
If you checked line 14b, fill out Form 122A-2 and file it with this form.

 

Official Form 1224-1 Chapter 7 Statement of Your Current Monthly income page 3
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Detor1 Megan Sloan Hill

 

Current Monthly Income Details for the Debtor

Debtor Income Details:

Income for the Period 03/01/2021 to 08/31/2021.

Line 2 - Gross wages, Salary, tips, bonuses, overtime, commissions

Source of Income: Peak Dental

Income by Month:
6 Months Ago:
5 Months Ago:
4 Months Ago:
3 Months Ago:
2 Months Ago:

Last Month:

Ling 2 - Gross wages, salary, tips, bonuses, overtime, commissions

Case number if known)

 

 

 

 

 

 

93/2021 $0.00
04/2021 $0.00
05/2021 $0.00
06/2021 $1,060.00
07/2021 $4,521.54
08/2021 $4,615.38
Average per month: $1,699.49

Source of Income: Shimmering Dental

Income by Month:
6 Months Ago:
5 Months Ago:
4 Months Ago:
3 Months Ago:
2 Months Ago:

Last Month:

Line 4 - Child support income (including foster care and disability)

 

 

 

 

 

 

03/2021 $3,682.07
04/2021 $3,682.42
05/2021 $3,169.83
06/2021 $2,369.00
07/2021 $0.00
08/2021 $0.00
Average per month: $2,150.55

Source of Income: Child Support

Income by Month:
6 Months Ago:

5 Months Ago:

4 Months Ago:

3 Months Ago:

2 Months Ago:

Last Month:

Line 4 - Child support income (including foster care and disability)

 

 

 

 

 

 

03/2021 $330.00
04/2021 $330.00
05/2021 $330.00
06/2021 $330.00
07/2021 $330.00
08/2021 $330.00
Average per month: $330.00

Source of Income: Child Support

Income by Month:
6 Months Ago:
5 Months Ago:
4 Months Ago:
3 Months Ago:
2 Months Ago:

Last Month:

Official Form 1224-4
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03/2021 $168.00
04/2021 $168.00
05/2021 $168.00
06/2021 $168.00
07/2021 $168.00
08/2021 $168.00
Average per month: $168.00

Chapter 7 Statement of Your Current Monthly Income

page 4
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United States Bankruptcy Court
Middle District of Florida

Inte | Megan Sloan Hill Case No.

 

Debtor(s) Chapter 7

 

VERIFICATION OF CREDITOR MATRIX

The above-named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.

 

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Bast Case Bankruptcy
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Megan Sloan Hill
4155 Tanner Road
Haines City, FL 33844

Central FL Court Document Srv
2432 US Highway 92 East
Lakeland, FL 33301

Credit Acceptance Co.
25505 W. 12 Mile
Southfield, Ml 48034

Credit Collections Svcs
RE: Quest Diagnostics

P. 0. Box 9134

Needham Heights, MA 02494

Credit One Bank
6801 S. Cimarron Road
Las Vegas, NV 89113

Duke Energy Florida
P. 0. Box 1004
Charlotte, NC 28201

Equifax
P. 0. Box 740241
Atlanta, GA 30374

Experian
701 Experian Parkway
Allen, TX 75073

Fed Loan Servicing
P. 0. Box 60610
Harrisburg, PA 17106

Fingerhut/Webbank
6250 Ridgewood Road
Saint Cloud, MN 56303-0820

First Premier
3820 N. Louise Avenue
Sioux Fatis, SD 57107

Helvey & Associates
RE: Duke Energy Florida
1015 East Center Street
Warsaw, IN 46580-3420

LandSouth Management
1945 The Exchange, #120
Atlanta, GA 30339

Quest Diagnostics Inc
P. 0. Box 740781
Cincinnati, OH 45274-0781

Reycas Auto Sales
1104 US 17-92 West
Haines City, FL 33844

Tampa Bay FCU
P. O. Box 7492
Tampa, FL 33673-7492

Tampa Bay FCU
3815 N. Nebraska Ave.
Tampa, FL 33603

Trans Union LLC
2 Baldwin Place
P. O. Box 1000
Chester, PA 19022
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Notice Required by 11 U.S.C. § 342(b) for

Individuals Filing for Bankruptcy (Form 2010)

 

 

 

This notice is for you if:

You are an individual filing for bankruptcy,
and

Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C.
§ 101(8) as “incurred by an individual
primarily for a personal, family, or
household purpose.”

 

 

 

The types of bankruptcy that are available to
individuals

Individuals who meet the qualifications may file under
one of four different chapters of Bankruptcy Code:

Chapter 7 - Liquidation
Chapter 11 - Reorganization

Chapter 12 - Voluntary repayment plan
for family farmers or
fishermen

Chapter 13 - Voluntary repayment plan
for individuals with regular
income

You should have an attorney review your
decision to file for bankruptcy and the choice of
chapter.

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Chapter 7: Liquidation

 

$245 filing fee
$78 administrative fee

+ $15 trustee surcharge

 

$338 total fee

Chapter 7 is for individuals who have financial
difficulty preventing them from paying their debts
and who are willing to allow their non-exempt
property to be used to pay their creditors. The
primary purpose of filing under chapter 7 is to have
your debts discharged. The bankruptcy discharge
reeves you after bankruptcy from having to pay
many of your pre-bankruptcy debts. Exceptions exist
for particular debts, and liens on property may still
be enforced after discharge. For example, a creditor
may have the right to foreclose a home mortgage or
repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your
discharge.

You should know that even if you file chapter 7 and
you receive a discharge, some debts aré not
discharged under the law. Therefore, you may still
be responsible to pay:

most taxes;

most student loans,

domestic support and property settlement
obligations;

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most fines, penalties, forfeitures, and criminal
restitution obligations; and

certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:
fraud or theft:

fraud or defalcation while acting in breach of
fiduciary capacity;

intentional injuries that you inflicted; and

death or personal injury caused by operating a
motor vehicle, vessel, or aircraft while intoxicated
from aicoho! or drugs.

If your debts are primarily consumer debts, the court
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.
You must file Chapter 7 Statement of Your Current
Monthly income (Official Form 122A-1) if you are an
individual filing for bankruptcy under chapter 7. This
form will determine your current monthly income and
compare whether your income is more than the median
income that applies in your state.

If your income is net above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Cajculation (Official Form
1224-2}.

If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test
Calculation (Official Form 122A—-2). The calculations on
the form— sometimes called the Means Tesi—deduct
from your income living expenses and payments on
certain debts to determine any amount available to pay
unsecured creditors. If

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your income is more than the median income for your
state of residence and family size, depending on the
results of the Means Test, the U.S. trustee, bankruptcy
administrator, or creditors can file a motion to dismiss
your case under § 707(b) of the Bankruptcy Code. Ifa
motion is filed, the court will decide if your case should
be dismissed. To avoid dismissal, you may choose to
proceed under ancther chapter of the Bankruptcy
Code.

If you are an individual filing for chapter 7 bankruptcy,
the trustee may sell your property to pay your debts,
subject to your right to exempt the property or a portion
of the proceeds from the sale of tne property. The
property, and the proceeds from property that your
bankruptcy trustee sells or iiquidates that you are
entitled to, is called exempt property. Exemptions may
enable you to keep your home, a car, clothing, and
household items or to receive some of the proceeds if
the property is sold.

Exemptions are net automatic. To exempt property,
you must list it on Schedule C: The Property You Claim
as Exempt (Official Form 106C). tf you do not list the
property, the trustee may sell it and pay ail of the
proceeds to your creditors.

 

Chapter 11: Reorganization

 

$1,167 filing fee

+ $571
$1,738

administrative fee
total fee

Chapter 11 is often used for reorganizing a business,
but is also available to individuals. The provisions of
chapter 11 are too complicated to summarize briefly.

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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
or inaction may harm you. If you file without an attorney, you are still responsible for knowing and

following alt of the legal requirements.

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the

necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or cbtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 35714.

 

 

 

Chapter 12: Repayment plan for family
farmers or fishermen

 

$200 filing fee
+ $78 administrative fee
$278 total fee

Similar to chapter 13, chapter 12 permits family farmers
and fishermen to repay their debts over a period of time
using future earnings and to discharge some debts that
are not paid.

 

Chapter 13: Repayment plan for
individuals with regular
income

 

$235 filing fee
+ $78 administrative fee
$313 total fee

Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

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Under chapter 13, you must file with the court a plan
to repay your creditors all or part of the money that
you owe them, usually using your future earnings. If
the court approves your plan, the court will allow you
to repay your debts, as adjusted by the plan, within 3
years or 5 years, depending on your income and other
factors.

After you make all the payments under your plan,
many of your debts are discharged. The debts that are
not discharged and that you may still be responsible to
pay include:

domestic support obligations,

most student loans,

certain taxes,

debts for fraud or theft,

debts for fraud or defalcation while acting in a
fiduciary capacity,

most criminal fines and restitution obligations,

certain debts that are not listed in your
bankruptcy papers,

certain debts for acts that caused death or
personal injury, and

certain long-term secured debts.

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A married couple may file a bankruptcy case
together—called a joint case. If you file a joint case and
each spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Understand which services you could receive from
credit counseling agencies

The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180

 

 

 

 

 

 

 

 

Bankruptcy crimes have serious consequences days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
If you knowingly and fraudulently conceal assets Internet.
or make a false oath or statement under penalty
of perjury—either orally or in writing—in In addition, after filing a bankruptcy case, you generally
connection with a bankruptcy case, you may be must complete a financial management instructional
fined, imprisoned, or both. course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
All information you supply in connection with a course.
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the You can obtain the fist of agencies approved to provide
U.S. Trustee, the Office of the U.S. Attorney, and both the briefing and the instructional course from:
other offices and employees of the U.S. http: /Avww.uscourts.gov/services-forms/bankruptcy/cre
Department of Justice. dit-counseling-and-debtor-education-courses.
Make sure the court has your mailing address In Alabama and North Carolina, go to:
http: //Awww.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure If you do not have access to a computer, the clerk of
that you receive information about your case, the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court the list.

of any changes in your address.

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STATEMENT OF INFORMATION REQUIRED BY 11 U.S.C. §341

INTRODUCTION

Pursuant to the Bankruptcy Reform Act of 1994, the Office of the United States Trustee, United States Department of Justice, has prepared this information sheet to help
you understand some of the possible consequences of filing a bankruptey petition under chapter 7 of the Bankruptcy Code. This information is intended to make you
aware of...

()) the potential consequences of secking a discharge in bankruptcy, including the effects on credit history,
(2) the effect of receiving a discharge of debts

(3) the effect of reaffirming a debt; and

(4) your ability to file a petition under a different chapter of the Bankruptcy Code.

There are many other provisions of the Bankruptcy Code that may affect your situation. This information sheet contains only general principles of law and is nota
substitute for tegal advice. if you have questions or need further information as te how the bankruptcy laws apply to your specific case, you should consult with your
lawyer.

WHAT IS A DISCHARGE?

The filing of a chapter 7 petition is designed to result in a discharge of most of the debts you listed on your bankruptcy schedules. A discharge is a court order that says
you do not have to repay your debts, but there are a number of exceptions. Debts which may not be discharged in your chapter 7 case include, for example, most taxes,
child support, alimony, and student loans, court-ordered fines and restitution, debts obtained through fraud or deception; and personal tnjury debts caused by driving
while intoxicated or taking drugs. Your discharge may be denied entirely if you, for example, destroy or conceal property; destroy, conceal or falsify records; or make a
false oath. Creditors cannot ask you to pay any debts which have been discharged. You car only receive a chapter 7 discharge once every eight (8) years.

WHAT ARE THE POTENTIAL EFFECTS OF A DISCHARGE?
The fact that you filed bankruptcy can appear on your credit report far as lang as [0 years. Thus, filing a bankruptcy petition may affect your ability to obtain credit in
the future. Also, you may not be excused from repaying any debts that were not listed on your bankruptcy schedules or that you incurred after you filed for bankruptcy.

WHAT ARE THE EFFECTS OF REAFFIRMING A DEBT?

After you file your petition, a creditor may ask you to reaffirm a certain debt or you may seek to do so on your own. Reaffirming a debt means that you sign and file
with the court a legally enforceable document, which states that you promise to repay all or a portion of the debt that may otherwise have been discharged in your
bankruptcy case. Reaffirmation agreements must generally be filed with the court within 66 days after the first meeting of the creditors.

Reaffirmation agreements are strictly voluntary — they are not required by the Bankruptcy Code or other state or federal Jaw. You can voluntarily repay any debt
instead of signing a reaffirmation agreement, but there may be valid reasons for wanting to reaffirm a particular debt.

Reaffirmation agreements must not impose an undue burden on you or your dependents and must be in your best interest. If you decide to sign a reaffirmation
agreement, you may cancel it at any time before the court issues your discharge order or within sixty (60) days after the reaffirmation agreement was filed with the
court, whichever is later. If you reaffirm a debt and fail to make the payments required in the reaffirmation agreement, the creditor can take action against you to
recover any property that was given as security for the loan and you may remain personally liable for any remaining debt.

OTHER BANKRUPTCY OPTIONS

You have a choice in deciding what chapter of the Bankruptcy Code will best suit your needs. Even if you have already filed for relief under chapter 7, you may be
eligible to convert your case to a different chapter.

Chapter 7 is the liquidation chapter of the Bankruptcy Code. Under chapter 7, a trustee is appointed to collect and sell, if economically feasible, ali property you own
that is not exempt from these actions.

Chapter 11 is the reorganization chapter most commonly used by businesses, but it is also available to individuals. Creditors vote on whether to accept or reject a plan,
which also must be approved by the court. While the debtor normally remains in control of the assets, the court can order the appointment of a tustee to take possession
and control of the business.

Chapter 12 offers bankruptcy relief to those who qualify as family farmers. Family farmers musi propose a plan to repay their creditors over a three-to-five year period
and it must be approved by the court. Pian payments are made through a chapter 12 trustee, who also monitors the debtor’s farming operations during the pendency of
the plan.

Finally, chapter 13 generally permits individuals to keep their property by repaying creditors out of their future income. Each chapter 13 debtor writes a plan which
must be approved by the bankruptcy court. The debtor must pay the chapter 13 trustee the amounts set forth in their plan. Debtors receive a discharge after they
complete their chapter 13 repayment plan. Chapter 13 is only available to individuals with regular income whose debts do not exceed $1,677,125 ($419,275 in
unsecured debts and $1,257,850 in secured debts).

AGAIN, PLEASE SPEAK TO YOUR LAWYER IF YOU NEED FURTHER INFORMATION OR EXPLANATION,

 

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